                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA

                        CIVIL ACTION NO.: 3:20-CV-00620-RJC-DSC

 KEVIN FONSECA,                                  )
                                                 )
                Plaintiff,                       )
                                                 )
                                                     PROTECTIVE ORDER PURSUANT TO
 vs.                                             )
                                                               FRE 502(d)
                                                 )
 AMERICAN NATIONAL RED CROSS,                    )
                                                 )
                Defendant.                       )
                                                 )

       Defendant has moved the Court pursuant to Rule 502(d) of the Federal Rules of Evidence,

as well as Local Rule 7.1, for entry of a Protective Order pursuant to Rule 502(d) concerning the

production of privileged or work-product protected documents and information.

       UPON GOOD CAUSE SHOWN, IT IS HEREBY ORDERED THAT:

       1.      The production of privileged or work-product protected documents, electronically

stored information (“ESI”) or information, whether inadvertent or otherwise, is not a waiver of the

privilege or protection from discovery in this case or in any other federal, state, or administrative

proceeding. This Order shall be interpreted to provide the maximum protection allowed by Federal

Rule of Evidence 502(d).

       2.      Nothing contained herein is intended to or shall serve to limit a party’s right to

conduct a review of documents, ESI or information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information before production.

       SO ORDERED.
                                   Signed: December 2, 2021




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